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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                      Miami Division



  PDVSA US LITIGATION TRUST

                       Plaintiff,
               v.

  LUKOIL PAN AMERICAS LLC; LUKOIL
  PETROLEUM LTD.; COLONIAL OIL INDUSTRIES,
  INC.; COLONIAL GROUP, INC.; GLENCORE LTD.;
  GLENCORE INTERNATIONAL A.G.; GLENCORE
  ENERGY     UK    LTD.;  MASEFIELD    A.G.;
                                             Case No. 1:18-CV-20818 (DPG)
  TRAFIGURA A.G.; TRAFIGURA TRADING LLC;
  TRAFIGURA BEHEER B.V.; VITOL ENERGY
  (BERMUDA) LTD.; VITOL S.A.; VITOL, INC.;
  FRANCISCO MORILLO; LEONARDO BAQUERO;
  DANIEL LUTZ; LUIS LIENDO; JOHN RYAN;
  MARIA FERNANDA RODRIGUEZ; HELSINGE
  HOLDINGS, LLC; HELSINGE, INC.; HELSINGE
  LTD.,       SAINT-HÉLIER;        WALTROP
  CONSULTANTS, C.A.; GODELHEIM, INC.;
  HORNBERG INC.; SOCIETE DOBERAN, S.A.;
  SOCIETE HEDISSON, S.A.; SOCIETE HELLIN,
  S.A.; GLENCORE DE VENEZUELA, C.A.; JEHU
  HOLDING     INC.;   ANDREW      SUMMERS;
  MAXIMILIANO POVEDA; JOSE LAROCCA; LUIS
  ALVAREZ; GUSTAVO GABALDON; SERGIO DE
  LA VEGA; ANTONIO MAARRAOUI; CAMPO
  ELIAS PAEZ; PAUL ROSADO; BAC FLORIDA
  BANK; EFG INTERNATIONAL A.G.; BLUE BANK
  INTERNATIONAL N.V.

                       Defendants

             PLAINTIFF’S MOTION FOR LEAVE TO EXCEED PAGE LIMIT

         Plaintiff PDVSA US Litigation Trust requests leave to file a Reply in excess of the 10 page

  limit set in forth Local Rule 7.1(c)(2) to the combined Response to Plaintiff’s Motion for a

  Preliminary Injunction filed by Defendants Helsinge, Inc., Helsinge, Ltd., Helsinge Holdings,
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  LLC, Daniel Lutz, Luis Liendo, Francisco Morillo, Leonardo Baquero and John Ryan (“Morillo

  Defendants”). Plaintiff requests an additional 10 pages to Reply to the Morillo Defendants, for a

  total of 20 pages.

         Defendants filed seven responses1 in opposition to Plaintiff’s motion for a preliminary

  injunction. Without any conditions, Plaintiff previously consented to the Morillo Defendants’

  request to file a response separate from the other Defendants, and exceed the page limits set by

  this Court’s Rules by 15 pages (that request was subsequently granted by the Court). Upon receipt

  of Defendants’ Responses, Plaintiff immediately requested consent from all Defendants to file one,

  30-page Reply to reply to all seven of the Defendants’ Responses. No Defendant consented.

         With respect to the Morillo Defendants, they not only objected to our 30-page request, they

  proposed a solitary 20-page Reply to all seven of the Defendants’ Responses, not just to the Morillo

  Defendants. Moreover, they wanted that Reply by this Friday, March 30, 2018 at 5:00 p.m. rather

  than the April 2, 2018 date provided by the Local Rules. Obviously, Plaintiff cannot reply to the

  Morillo Defendants’ 35-page Response which raises fourteen separate issues and attaches 81 pages

  of affidavits, and the six other Responses within such restraints. The time limitation proposed by

  the Morillo Defendants would reduce by more than 3 days Plaintiff’s already short time to respond

  to the entirety of Defendants’ filings.

         Because Defendants’ rejected Plaintiff’s offer of a single 30-page Reply, Plaintiff will

  separately reply to each of the Defendants’ Responses, and hereby requests a 20-page Reply to

  respond to the Morillo Defendants’ Response. Plaintiff asked the Morillo Defendants if they would

  consent to this request, but this morning they again rejected Plaintiff’s request by insisting the



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   In contravention of this Court’s Individual Judge’s Rules and this Court’s Order (Docket No.
  94) specifically directing Defendants to file one joint Response, the other Defendants (i.e. the
  non-Morillo Defendants) filed six separate Responses in Opposition to Plaintiff’s Motion.


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  filing of Plaintiff’s Reply by tomorrow, Friday, March 30th at 5:00 p.m. In addition, without any

  explanation for their urgency, the Morillo Defendants threatened to make a motion for that

  truncated deadline if Plaintiff did not agree.

         Accordingly, Plaintiff requests that the Court enter an Order granting this motion

  permitting Plaintiff to file a separate, 20-page Reply for the Morillo Defendants as currently

  scheduled on April 2, 2018.



  Dated: March 29, 2018
                                                         BOIES SCHILLER FLEXNER LLP

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                                                             Attorneys for Plaintiff




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                      CERTIFICATE OF GOOD FAITH CONFERENCE

         In accordance with Local Rule 7.1(a)(3)(A), the undersigned certifies that Plaintiff’s

  counsel has attempted to confer with all counsel of record in a good-faith effort to resolve the

  issues raised in this motion. We conferred with Defense counsel that has appeared in this case,

  and none of them have consented to the requested relief.

                                              /s/ Steven W. Davis




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